    Case 1:18-cr-00049-RJA-JJM       Document 156     Filed 12/11/18   Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                 Plaintiff,

                                                            DECISION AND ORDER
             v.                                                 18-CR-49-A

ERICA LOUNSBERRY,
DAMARIO TURPIN, and
SHAUNIQUA RODRIGUEZ,


                                 Defendants.


      This case was referred to Magistrate Judge Jeremiah J. McCarthy pursuant to 28

U.S.C. § 636(b)(1) for the conduct of pretrial proceedings. On October 1, 2018,

Magistrate Judge McCarthy filed a Report and Recommendation (Dkt. No. 140)

recommending that defendants’ motions to suppress be denied.

      On October 14, 2018, defendant Lounsberry filed objections to the Report and

Recommendation. Dkt. No. 141. Defendant Turpin filed objections (Dkt. No. 144) on

October 16, 2018. The United States filed a timely response (Dkt. No. 147), and oral

argument was heard on November 20, 2018.

      Pursuant to 28 U.S.C. §636(b)(1), the Court makes a de novo determination of

those portions of the Report and Recommendation to which objections have been

made. Upon de novo review, and after considering the parties’ arguments, the Court

hereby adopts Magistrate Judge McCarthy’s findings and conclusions. Dkt. No. 140.

Accordingly, defendants’ motions to suppress are denied.

      Because co-defendants with whom defendant Lounsberry and Turpin are joined
    Case 1:18-cr-00049-RJA-JJM        Document 156       Filed 12/11/18    Page 2 of 2




for trial have pretrial proceedings pending before Magistrate Judge McCarthy, and

because the United States indicated during an appearance on November 20, 2018, that

the parties expect all the defendants to remain joined for trial, these defendants shall

report for a status conference on January 22, 2019 at 12:30 p.m.

       IT IS SO ORDERED.



                                            Richard J. Arcara_
                                          HONORABLE RICHARD J. ARCARA
                                          UNITED STATES DISTRICT COURT

Dated: December 10, 2018




                                             2
